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            EXHIBIT 1
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Direct Examination of Dr. Michael Butler

                                                                   1
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Broad Plateau of Interchangeable Concentrations
Butler, M., “Serum and protein free media,” in Cell Engineering: Animal Cell Culture (2015)




                                                          100 times




Janssen Daubert Ex. 3, at 229                                                                      22
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Broad Plateau of Interchangeable Concentrations




                                                             over 100 times
Janssen Daubert Ex. 4                                                                      23
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Broad Plateau of Interchangeable Concentrations




Janssen Daubert Ex. 5                                                                      24
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Broad Plateau of Interchangeable Concentrations




                                                                ~6X




Janssen Daubert Ex. 5, at Fig. 1                                                                  25
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Broad Plateau of Interchangeable Concentrations




                                                            ~6X




Janssen Daubert Ex. 5, at Fig. 4                                                                  26
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Broad Plateau of Interchangeable Concentrations




                                                              ~2,500X




                                                                  ~400X




Janssen Daubert Ex. 5, at Fig. 5                                                                  27
